565 F.2d 1213
    International Union of Electrical, Radio and MachineWorkers, AFL-CIO-CLC and its Local 1000v.Markle Manufacturing Co.*
    No. 77-1127
    United States Court of Appeals, Fifth Circuit
    12/12/77
    
      1
      W.D.Tex.
    
    
      2
      AFFIRMED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    